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                                                     March 10, 2022

VIA ECF & EMAIL

The Honorable Kiyo A. Matsumoto
United States District Judge
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

               Re:    United States v. Tyshawn Corbett, et al., No. 20-cr-213 (KAM)

Dear Judge Matsumoto:

        We represent defendant Qawon Allen and write jointly on behalf of all of the defendants
and with consent of the government to request that the Court’s motions schedule be extended.
Trial in this case is scheduled for August 1, 2022, and the motions in limine are currently due
March 18, 2022. See ECF No. 171. For the reasons set forth below, we request that the parties’
motions in limine be filed on or before April 29, 2022; the responses be filed on or before May
20, 2022; and the replies be filed on or before May 27, 2022.

        We make this request because the government recently disclosed a substantial amount of
new discovery to the defendants relating to contraband cell phones that Mr. Allen is accused of
possessing in the MDC-Brooklyn. This new discovery includes: (1) three cell phones discovered
in the MDC that the government alleges Mr. Allen possessed; (2) Federal Bureau of Prisons
documents concerning the seizure of these phones; (3) Facebook and Google accounts that
purportedly belong to Mr. Allen, which the government alleges he accessed from the MDC using
the contraband cell phones; (4) search warrants for the seized cell phones and social media and
email accounts; and (5) subpoenaed subscriber and IP-address data for the phones and social
media and email accounts. This discovery has been produced on an ongoing basis since February
15, 2022.

       The government has also informed the defendants that there is even more discovery
forthcoming relating to the contraband phones allegedly possessed by Mr. Allen. Specifically,
we expect to receive an additional cell phone discovered in the MDC that Mr. Allen is accused of
having used, as well as a copy of his purported Instagram account, which he allegedly accessed
using one or more of the phones. It is anticipated that these materials will be produced in the
coming weeks.

       This new discovery is voluminous. Indeed, the cell phones were so large that the
defendants could only obtain a copy of them by supplying the government an external hard drive.
Further, this new discovery is potentially highly prejudicial to Mr. Allen and his codefendants. It
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purportedly contains conversations between Mr. Allen and at least one other codefendant about
the case, as well as discussions about the codefendants’ relationships to each other, the charged
crimes, Mr. Allen’s legal strategy and discussions with his attorneys, and statements about the
government’s evidence, including suspected cooperating witnesses. Defense counsel will need to
review this large amount of supplemental discovery carefully. Likely, counsel will seek to
challenge the admissibility of statements and materials contained within it.

         The parties’ proposed briefing schedule gives the defendants an additional six weeks to
accomplish that. This time will not just permit defense counsel time to review this substantial
amount of new discovery, discuss it with their clients (who are all detained), and prepare their
motions, but also to meet and confer with the government and winnow, or at least clarify, the
issues in dispute. Additionally, our proposed schedule will leave more than two months before
trial for resolution of the parties’ pretrial motions, including, if necessary, oral argument.

       We have discussed this extension request with counsel for the remaining codefendants,
who join in it, and with counsel for the government, who consent to it. Mr. Allen consents to the
exclusion of time pursuant to the Speedy Trial Act from now until April 29, 2022.

                                                     Respectfully submitted,

                                                     /s/
                                                     Deirdre von Dornum
                                                     Benjamin Yaster
                                                     Marissa Sherman
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                                                     Counsel for Qawon Allen

cc:    all counsel of record (via ECF)




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